Case 9:23-cr-80101-AMC Document 423 Entered on FLSD Docket 03/29/2024 Page 1 of 5




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

                               CASE NO. 23-80101(s)-CR-CANNON

  UNITED STATES OF AMERICA,

         Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

             GOVERNMENT’S THIRD MOTION FOR CERTAIN REDACTIONS

         In accordance with the Court’s paperless Orders at ECF Nos. 320 and 365, the Government

  files this consolidated Motion to respectfully request the redaction of certain portions of two of the

  reply briefs defendant Nauta submitted to the Court on March 24, 2024.1 The Government believes

  that the remaining reply briefs Nauta and defendant Trump submitted to the Court on March 24




  1
          The Nauta reply briefs for which the Government is requesting redactions are the Reply in
  Support of His Motion to Dismiss the Superseding Indictment for Selective and Vindictive
  Prosecution (“Selective/Vindictive Reply”) and the Reply in Support of Defendants’ Motion to
  Suppress Evidence and for Return of Property and Request for Evidentiary Hearing (“Motion to
  Suppress Reply”). The Government has conferred with counsel for all three defendants concerning
  this Motion, and they maintain that the Government has not met its burden to support restricting
  public access to the two reply briefs. Although ECF No. 320 does not set a deadline for filing this
  Motion, the Government is following the five-day timetable the Court set for such a motion in the
  Order. Under the Order, any defense opposition would be due in two days. The Government has
  advised defense counsel that, in order to relieve them of another Sunday filing deadline
  (particularly a Sunday that is a holiday), it does not oppose their having an additional day to file
  an opposition.
Case 9:23-cr-80101-AMC Document 423 Entered on FLSD Docket 03/29/2024 Page 2 of 5




  can be publicly filed and have so advised their counsel.2 The Government is filing this Motion

  publicly but is emailing to Chambers and defense counsel “red box” versions of the two reply

  briefs showing the Government’s proposed redactions. Set forth below are the Government’s

  justifications in support of those redactions.

         Nauta’s Selective/Vindictive Reply

         There are three portions of Nauta’s Selective/Vindictive Reply that require extensive

  redactions. First, beginning on page two of the Reply and continuing through page four, Nauta

  references, summarizes, and quotes from filings that this Court has ordered sealed.3 These are

  ECF Nos. 101, 115, 116, and 118. The Government does not object to the Court unsealing these

  docket entries, but until it does so, these portions of the Reply must be redacted.

         Second, on pages four and five of the Reply, Nauta references a sealed grand jury

  proceeding in the District of Columbia that occurred as part of this investigation and that involved

  another client of his counsel. In addition to being sealed, that matter remains subject to Rule 6(e).

         Third, on pages five and six of the Reply, Nauta references a sealed grand jury proceeding

  in the District of Columbia that involved a third client of his counsel, but that was unrelated to this

  case. Notably, the events Nauta described occurred before the appointment of the Special Counsel.



  2
          The following are Trump’s reply briefs that the Government believes can be filed publicly:
  Reply Brief in Further Support of Motion to Dismiss the Indictment Based on Prosecutorial
  Misconduct and Due Process Violations; Reply Brief in Further Support of Motion for Relief
  Relating to the Mar-a-Lago Raid and Unlawful Piercing of the Attorney-Client Privilege; and
  Reply Brief in Further Support of Motion to Dismiss the Indictment Based on Selective and
  Vindictive Prosecution. The following are Nauta’s reply briefs that the Government believes can
  be filed publicly: Reply in Support of Defendants’ Motion to Dismiss Indictment under Fed. R.
  Crim. P. 12(b)(3)(B); Reply in Support of His Motion for a Bill of Particulars; and Reply in
  Support of His Motion to Dismiss Counts 33, 34, 35, 40, and 41 of the Indictment as Void for
  Vagueness. Counsel for the defendants have advised that they agree that these briefs should be
  publicly filed.
  3
         Nauta has similar references to these filings on page six of the Reply.


                                                    2
Case 9:23-cr-80101-AMC Document 423 Entered on FLSD Docket 03/29/2024 Page 3 of 5




  Neither the undersigned nor any other line prosecutor working on the classified documents

  investigation had any involvement in that proceeding, nor would they have been aware of it when

  it occurred.

         Last, page seven of the Reply contains the names of potential Government witnesses. The

  Government seeks to redact their names. As the Government has argued in its prior motions for

  redactions and/or sealing (ECF Nos. 348 and 384), witness safety and privacy are paramount pre-

  trial. The limited redactions of the names satisfy the good cause standard established in Chicago

  Tribune Co. v. Bridgestone/Firestone, Inc., 263 F.3d 1304, 1312-13 (11th Cir. 2001), as well as

  the higher standard requiring a compelling interest for the redactions and the redactions being

  narrowly tailored. See ECF No. 283 at 4.

         Nauta’s Motion to Suppress Reply

         Throughout Nauta’s Motion to Suppress Reply, he includes the names of Government

  witnesses. The Government is seeking to redact their names and any pronouns revealing their

  gender. For the reasons stated above, the Government has satisfied its burden for these limited

  redactions.

                                             Conclusion

         For the foregoing reasons, the Court should grant the Government’s Motion.

                                              Respectfully submitted,

                                              JACK SMITH
                                              Special Counsel


                                       By:    /s/ Jay I. Bratt
                                              Jay I. Bratt
                                              Counselor to the Special Counsel
                                              Special Bar ID #A5502946
                                              950 Pennsylvania Avenue, N.W.
                                              Washington, D.C. 20530



                                                 3
Case 9:23-cr-80101-AMC Document 423 Entered on FLSD Docket 03/29/2024 Page 4 of 5




                                     David V. Harbach, II
                                     Assistant Special Counsel
                                     Special Bar ID #A5503068




                                        4
Case 9:23-cr-80101-AMC Document 423 Entered on FLSD Docket 03/29/2024 Page 5 of 5




                                  CERTIFICATE OF SERVICE

        I, Jay I. Bratt, certify that on March 29, 2024, I served the foregoing document on all parties

  via CM/ECF.

                                               /s/ Jay I. Bratt__________________
                                               Jay I. Bratt




                                                  5
